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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE


  FUSION ELITE ALL STARS, et al.,

                        Plaintiffs,
                                                    Case No. 2:20-cv-02600-SHL-tmp
  v.
                                                    JURY TRIAL DEMANDED
  VARSITY BRANDS, LLC, et al.,

                        Defendants.


  JONES, et al.,

                        Plaintiffs,
                                                    Case No. 2:20-cv-02892-SHL-tmp
  v.
                                                    JURY TRIAL DEMANDED
  BAIN CAPITAL PRIVATE EQUITY, et al.,

                        Defendants.


  AMERICAN SPIRIT AND                   CHEER
  ESSENTIALS, INC., et al.,
                                                    Case No. 2:20-cv-2782-SHL-tmp
                        Plaintiffs,
                                                    JURY TRIAL DEMANDED
  v.

  VARSITY BRANDS, LLC, et al,

                        Defendants.

     PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY MEMORANDUM IN
 SUPPORT OF PLAINTIFFS’ JOINT MOTION TO FACILITATE COORDINATION OF
                 DEPOSITIONS IN THE RELATED ACTIONS

        Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics, Stars and Stripes

 Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn Anne Radek,

 Lauren Hayes, and Janine Cherasaro (collectively, “Fusion Elite Plaintiffs”); Plaintiffs Jessica
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 Jones, Michelle Velotta, and Christina Lorenzen (collectively, “Jones Plaintiffs”); and Plaintiffs

 American Spirit and Cheer Essentials, Inc., Rockstar Championships, LLC, Jeff & Craig Cheer,

 LLC, d/b/a Jeff and Craig Camps, and Ashley Haygood (collectively, American Spirit Plaintiffs”)

 respectfully move the Court, pursuant to Local Rules 7.2(c), for leave to file a reply memorandum

 (“Reply”) in support of their Joint Motion to Facilitate Coordination of Depositions (“Joint

 Motion”).

         1.      On October 19, 2021, Plaintiffs filed their Joint Motion, which included a

 memorandum in support totaling 11 pages in accordance with Local Rule 7.2(e). Plaintiffs also

 submitted 4 exhibits in support of the Motion.

         2.      On November 2, 2011 Defendants Varsity Brands, LLC; Varsity Spirit, LLC;

 Varsity Spirit Fashions & Supplies, LLC; Jeff Webb; Charlesbank Capital Partners LLC; Bain

 Capital Private Equity; U.S. All Star Federation, Inc.; and USA Federation for Sport Cheering

 (collectively, “Defendants”) submitted their Response to Plaintiffs’ Joint Motion totaling 6 pages.

 (Dkt. 159.)

         3.      Defendants’    Response    raises       issues   that   require   a   reply,   including

 misunderstandings regarding the scope of the relief Plaintiffs seek, including which witnesses

 would be subject to extended time under Plaintiffs’ Motion, as well as the nature of the various

 allegations raised in the three separate actions brought by the Fusion Elite, Jones, and American

 Spirit Plaintiffs.

         For these reasons, Plaintiffs respectfully request leave to file their Reply. Plaintiffs make

 this timely request within 7 days of service of Defendants’ Response. Defendants oppose the relief

 sought by Plaintiffs.




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 Dated: November 9, 2021         Respectfully submitted,

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                                 Apparel, Athletic Equipment and Merchandise Class,
                                 and the Cheer Camp Market Class

                                 * Admitted pro hac vice




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                               CERTIFICATE OF GOOD FAITH

        Consistent with Local Rule 26(b)(1) and 7.2(a)(1).01(b)(3), counsel for Plaintiffs,

  Katherine Van Dyck and Victoria Sims, conferred with counsel for Defendants, and Defendants

  oppose the relief requested in this Motion.



                                                /s/ Katherine Van Dyck
                                                Katherine Van Dyck




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on November 9, 2021, the foregoing was served

 via ECF processing upon the following:

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  Capital, LP; Charlesbank Capital Partners,
  LLC; BSN Sports, LLC; Stanbury, LLC; and
  Herff Jones,LLC;




                                           /s/ Katherine Van Dyck
                                           Katherine Van Dyck




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